        Case 1:08-cr-00087-DAD Document 248 Filed 06/04/15 Page 1 of 2


                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Anthony W. Ishii                  RE: Miguel Gallegos
Senior United States District Judge             Docket Number: 0972 1:08CR00087-002
Fresno, California                              PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:


Miguel Gallegos is requesting permission to travel to Tijuana, Mexico. Miguel Gallegos is being
supervised in the District of Nevada and is current with all supervision obligations. The
probation officer recommends approval be granted.

Conviction and Sentencing Date: On April 27, 2009, Miguel Gallegos was sentenced for the
offense of Conspiracy to Possess with Intent to Distribute Methamphetamine.

Sentence Imposed: 70 months Bureau of Prisons; 60 months supervised release

Dates and Mode of Travel: Vehicle

Purpose: Mr. Gallegos would like to travel with his girlfriend to Tijuana, Mexico, so they may
visit “Tijuana Fertilidad,” a fertility clinic.




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                                                                                     REV. 05/2013
                                                      TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
          Case 1:08-cr-00087-DAD Document 248 Filed 06/04/15 Page 2 of 2
RE:      Miguel Gallegos
         Docket Number: 0972 1:08CR00087-002
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,

                                      /s/ Megan Pascual

                                       Megan Pascual
                               United States Probation Officer


Dated:    June 1, 2015
          Fresno, California
          mdp/rla
                            /s/ Tim Mechem
 REVIEWED BY:              Tim Mechem
                           Supervising United States Probation Officer




                                ORDER OF THE COURT

          ☒     Approved        ☐      Disapproved

IT IS SO ORDERED.

Dated: June 4, 2015
                                          SENIOR DISTRICT JUDGE




                                              2

                                                                                     REV. 09/2013
                                                      TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
